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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

SIDNEY MCBRIDE, III, #457947                                     CIVIL ACTION

VERSUS                                                           NUMBER: 21-1140

SHERIFF CRAIG WEBRE, ET AL.                                      SECTION: “T”(5)


                                         ORDER

       The Court, having considered the complaint, the record, the applicable law, the

Magistrate Judge’s Report and Recommendation, and the failure of Plaintiff to file any

objections to the Magistrate Judge’s Report and Recommendation, hereby approves the

Magistrate Judge’s Report and Recommendation and adopts it as its opinion herein.

       Accordingly,

       IT IS ORDERED that Plaintiff’s suit is dismissed with prejudice pursuant to 28 U.S.C.

§1915(e)(2)(B)(i) and (ii).

       New Orleans, Louisiana, this ________
                                      25th day of October, 2021.




                                        ____________________________________________
                                                  GREG GERARD GUIDRY
                                             UNITED STATES DISTRICT JUDGE
